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       By: Mythili Gubbi

Posted 4:20 PM, Jul 26, 2024 and last updated 4:24 PM, Jul 26, 2024


SALT LAKE CITY — The shake up within the Utah State University athletic
program, including the dismissal of head football coach Blake
Anderson, continues to stir up controversy.

"Change is hard, change with people is really hard, I understand that. But
sometimes good people make bad decisions and we have to take action," said
university Athletic Director Diana Sabau.

Anderson was officially fired on July 18 after a school review showed he
allegedly failed to comply with school policies that required the coach to report
sexual misconduct, and that he had also violated a policy prohibiting school
employees from investigating alleged sexual misconduct on their own.
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For the first time since Anderson's dismissal,
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athletics department, school officials addressed the firings Friday and why they
had to be made despite the poor timing.
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"There's no athletics director in the country that wants to make a change within
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their football program in July," said Sabau. "The timing is not ideal, but we
believe in the findings of this investigation, this independent investigation, we
stand by the policies that were violated."


The Utah State investigation found that Anderson knew that a student-athlete
had been arrested on a domestic violence charge, but failed to report it. Instead,
the school says the coach spoke with the student and gathered his own witness
statements.

"As a head coach, as a department member, as an individual at Utah State, you
cannot conduct your own investigation when it is in the hands of law
enforcement, and you have a responsibility to report immediately," Sabau said.


Anderson's lawyer, Tom Mars, responded to the school's findings, saying the
coach notified Deputy Athletics Director Jerry Bovee, who was going to submit
a group report, and spoke to witnesses only after that. Mars added that the
policy cited in Anderson's termination letter would not have applied since the
incident happened off-campus.




Bovee was one of those dismissed by Utah State along with Anderson, Director
of Player Development Austin Albrecht and Executive Associate Athletics
Director Amy Crosbie

On Friday, Sabau claimed the policy questioned by Mars applies to students
and it doesn't matter where the offense occurred.

"We stand by our employment decisions," she said.
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In his own statement, Bovee said he was   blindsided by the decision and that he
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intends to file a grievance against the school. Sabau would not comment on why
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Crosbie was let go or confirm if it was connected to the issues surrounding the
                                                                                                                                         Watch Now
others.

Weeks after the blow up in Logan, Sabau hopes the school and the community
can stay strong, and that students can feel safe on campus thanks to school
policies.

"Setting a new trajectory in accountability and transparency," she said, "so that
there is not a pervasive culture of sexual violence or domestic violence within
any of our athletic departments."




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